                             Case 2:20-cr-00577-JMA Document 2-1 Filed 12/16/20 Page 1 of 1 PageID #: 35

TO: Clerk's Office                                                  FILED
                    s ri~s~~ftt~lis
    UNITED STATES DISTRICT CO~~Uo~Y:~o.N.V.
    EASTERN DISTRICT OF NEW YORK . .
-------------------* DEC 1 020 *
      APPLICATION FOR LEAVE                               LONG ISLAND OFFICE
    TO FILE DOCUMENT UNDER SEAL

                                                                                          A) If pursuant to a prior Court Order:
********************************
UNITED STATES
                                                                                          Docket Number of Case in Which Entered:._ _ _ _ _ _ __
                                                                                          Judge/Magistrate Judge:_ _ _ _ _ _ _ _ _ _ _ _ __
    v.

JOHN DOES
                                    CR                20 577                              Date Entered:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                      Docket Number

********************************
SUBMITTED BY: Plaintiff__ Defendant__ DOJ
Name: John J. Durham, AUSA
                                                        JJROWN, J.                        B) If a new application, the statute, regulation, or other legal basis that
                                                                                          authorizes filing under seal

Finn Name:USAO-EDNY                                         TISCIONE, M.J.                Ongoing criminal investigation involving risk of
Address: 610 Federal Plaza                                                                flight, destruction of evidence, change of
          Central Islip, New York 11722                                                   behavior, and notification of accomplices.
Phone Number: {631) 715-7851                                                              ORDERED SEALED AND PLACED IN THE CLERK'S OFFICE,
E-Mail Address:                                                                           AND MAY NOT BE UNSEALED UNLESS ORDERED BY
                --------------                                                            THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET: YES                 NO ✓
If yes, state description of document to be entered on docket sheet:                      DATED: Central Islip                     ,NEW YORK
                                                                                                                              ~~           ,-:--,
                                                                                             12/16/20                     s/ Steven L. Tiscione

                                                                                          U.S. DISTRICT JUDGE/U.S. MAGISTRATE JUDGE

                                                                                          RECEIVED IN CLERK'S OFFICE_ _ _ _ _ _ _ __
                                                                                                                         DATE
MANDATORY CERTIFICATION OF SERVICE:
A.)_ A copy of this application either has been or will be promptly served upon all parties to this action, B.) _  Service is excused by 31 U.S.C. 3730(b), or by
the following other statute or regulation: _ _ ; or C.) _L__This is a criminal document submitted, and flight public safety, or security are significant concerns.
(Check one)
                            . 12/16/2020                          SI John J. Durham
                             DATE                                         SIGNATURE
